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12

13                                    UNITED STATES DISTRICT COURT

14                                  NORTHERN DISTRICT OF CALIFORNIA

15                                         SAN FRANCISCO DIVISION

16   UNITED STATES OF AMERICA,                         )   NO. CR 20-00249 RS
                                                       )
17           Plaintiff,                                )   UNITED STATES’ PROPOSED ADDITIONAL
                                                       )   VOIR DIRE QUESTIONS
18      v.                                             )
                                                       )   Dept.:      Courtroom 3 – 17th Floor
19                                                     )   Judge:      Hon. Richard Seeborg
     ROWLAND MARCUS ANDRADE                            )
20                                                     )   Trial Date: February 10, 2025
             Defendant.                                )
21                                                     )
                                                       )
22

23           During the pretrial conference in this matter, the Court permitted the parties to file proposed voir
24 dire questions. Dkt. 492. The United States respectfully submits the following proposed questions:

25           1. Do any of the jurors happen to know any of the other prospective jurors?
26           2. Would sitting as a juror in this case cause a significant financial hardship for you?
27           3. Much of the evidence in this trial will be in the form of documents, such as emails, text
28               messages, and news articles. Witnesses will discuss those documents, and they will be

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 1            displayed on the screen in front of you. Is there anything that would make it difficult for you

 2            to read and understand large amounts of text written in English?

 3         4. Have you ever worked at a startup or in venture capital? If so, what was your role?

 4         5. The U.S. Department of Justice, the FBI, and federal law enforcement in general have all

 5            been in the news recently. Although this case is in San Francisco and results from a San

 6            Francisco-based investigation, do you have such strong feelings about the Federal

 7            Government that you would not be able to be fair in evaluating the evidence and witness

 8            testimony in this case?

 9         6. Have you or a close friend or family member had any prior experience with Jack Abramoff,

10            or strong opinions or feelings about him, that would influence your ability to be a fair and

11            impartial juror in this case?

12         7. In this case you may hear from witnesses who also committed crimes and who may be

13            seeking some leniency in their own cases for providing testimony or evidence in this case.

14            While the law provides for you to view those witnesses with scrutiny, would you tend to

15            ignore those witnesses because you don’t believe that the law should allow such witnesses to

16            testify?

17

18 DATED: January 24, 2025                                      Respectfully submitted,

19                                                              ISMAIL J. RAMSEY
                                                                United States Attorney
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21
                                                                       /s/
22                                                              CHRISTIAAN HIGHSMITH
                                                                DAVID J. WARD
23                                                              Assistant United States Attorneys
24
                                                                MATTHEW CHOU
25                                                              Special Assistant United States Attorney

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